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 5   Attorneys for Defendant Zeetogroup, LLC
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 8                      UNITED STATES DISTRICT COURT
 9                    SOUTHERN DISTRICT OF CALIFORNIA
10

11   DIGITAL MEDIA SOLUTIONS,             Case No. 22CV1184 JLS AHG
     LLC,
12
                           Plaintiff,     DECLARATION OF SHAYNE
13                                        CARDWELL IN SUPPORT OF
           v.                             RESPONSE TO PLAINTIFF DIGITAL
14                                        MEDIA SOLUTIONS, LLCS
     ZEETOGROUP, LLC,                     RESPONSE TO ORDER TO SHO
15                                        CAUSE AS TO SUBJECT MATTER
                          Defendants.     JURISDICTION
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17                                        Dept:      4D
                                          Judge:     Hon. Janis L. Sammartino
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     CARDWELL DEC IN RESPONSE TO OSC                             22CV1184 JLS AHG
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 Case 3:22-cv-01184-AHG Document 9-1 Filed 10/06/22 PageID.96 Page 2 of 2



 1           I, Shayne Cardwell, declare as follows:
 2           1.    I am the Chief Revenue Officer of ZeetoGroup, LLC, (Zeeto) a
 3   Delaware Limited Liability Corporation with its principal place of business in San
 4   Diego, California. I have personal knowledge of the facts contained in this
 5   declaration and, if called as a witness, could and would testify as such.
 6           2.    I have knowledge of the Zeetos ownership structure. Currently,
 7   Stephan Goss is a member of ZeetoGroup, LLC.
 8           3.    Mr. Goss has not lived in the United States since the beginning of the
 9   COVID-19 pandemic and is currently residing in Dubai.
10           I declare under penalty of perjury, under the law of The United States of
11   California that the foregoing is true and correct. Executed this 6th day of October,
12   2022.
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15                                           Shayne Cardwell

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     CARDWELL DEC IN RESPONSE TO OSC                                     22CV1184 JLS AHG
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